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ISAAC B. TIGRETT, WD r,,_ HH_"S

Plaintiff,
v.
No. 03-2659 Ml/V
U'NITED STATES OF AMERICA,

Defendant.

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ORDER SETTING TELEPHONE CONFERENCE

 

The Court will hold a brief telephone conference in this
cause on Fridav, September 2, 2005, at ll:OO a.m. During the
conference, the parties should be prepared to discuss the
parties' Joint Motion to Alter or Amend Judgment to determine
where the $8,521 figure proposed for judgment was previously
submitted in the record.

Plaintiff shall initiate the call with all parties on the

line.

So ORDERED this 2§; day of August, 2005.

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JON P. MCCALLA
U TED STA'I'ES DISTRICT JUDGF_`.

 

Thls document entered on the docket sheet in,¢§))rgg.lance
with Ruie 58 andlor TQ{a) FRCP on

 

 

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This notice confirms a copy cf the document docketed as number 54 in
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Honorable Jon McCalla
US DISTRICT COURT

